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1                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
2                          EASTERN DIVISION
3
       ZHU ZHAI HOLDINGS, LIMITED, and               ) No. 20 C 4985
4      PETER PUI TAK LEE,                            )
                                                     )
5                               Plaintiffs,          )
                                                     )
6                   v.                               )
                                                     )
7      STEVEN IVANKOVICH,                            ) July 1, 2021
                                                     ) Chicago, Illinois
8                                                    ) 9:30 a.m.
                                Defendant.           ) Telephonic Status Hearing
9
10                    TRANSCRIPT OF PROCEEDINGS
             BEFORE THE HONORABLE SHARON JOHNSON COLEMAN
11
12     APPEARANCES:
13     For the Plaintiffs:            QUINN EMANUEL URQUHART & SULLIVAN, LLP
       (Telephonically)               865 South Figueroa Street
14                                    Suite 3000
                                      Los Angeles, California 90017
15                                    BY: MR. WILL SEARS
16
       (In Person)                    QUINN EMANUEL URQUHART & SULLIVAN, LLP
17                                    191 North Wacker Drive
                                      Suite 2700
18                                    Chicago, Illinois 60606
                                      BY: MR. DAVID LAKIN
19
20
21
22
23                 TRACEY DANA McCULLOUGH, CSR, RPR
                         Official Court Reporter
24                     219 South Dearborn Street
                                 Room 1232
25                      Chicago, Illinois 60604
                              (312) 435-5570
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1                   THE CLERK: 20 CV 4985, Zhu Zhai Holdings Limited
2      versus Ivankovich.
3                   MR. LAKIN: Good morning, Your Honor.
4                   THE COURT: Good morning, Counsel.
5                   MR. LAKIN: David Lakin here for Zhu Zhai Holdings.
6      I'm joined by my colleagues Mr. Sears and Mr. Rand will be
7      taking the hearing.
8                   THE COURT: All right. And what is the -- what is
9      the status? Do we know? Defendant was supposed to get a new
10     lawyer, correct?
11                  MR. SEARS: Good morning, Your Honor. Will Sears,
12     Quinn Emanuel. And thank you for letting me attend via
13     telephone. I know this was scheduled for in person, so we
14     appreciate that.
15                  THE COURT: No problem at all, Counsel. My hope had
16     been -- I will just say this: My hope and my -- at least we
17     were told by this time we would be basically in person all over
18     the building, and then that has taken a change. I'm even in a
19     different courtroom. So we are sort of playing it by ear. And
20     so you do have a physical representative here. He was here
21     nice and early. I appreciate it. He's hearing my whole
22     telephone call. Now, he gets to see what we go through when
23     you all are by phone, so he can -- he gets a picture and can
24     relate what happens.
25                  But go ahead, Counsel. What have we heard?
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1                   MR. SEARS: Thank you, Your Honor. The answer to
2      your question is, that's correct, the defendant was supposed to
3      retain a lawyer. As the Court may recall, we had a hearing on
4      May 21st on the eve of the fact discovery deadline.
5                   THE COURT: Right.
6                   MR. SEARS: His counsel sought leave to withdraw.
7      The Court granted that request. Defendant was present at that
8      hearing. He said he'd get a lawyer and that he needed 30 days.
9      The Court granted him until June 21st to retain new counsel.
10     Defendant did not meet that deadline. There's been no
11     appearance of counsel. We haven't heard a peep from defendant.
12     And thus, we've, we've moved for a default again under Rule 55,
13     which is now pending at docket 73.
14                  THE COURT: All right. And I believe when we were
15     here the last time the Court let, let defendant know that they
16     had to have a lawyer or this matter -- they risk this matter --
17     a default judgment being entered, is that correct?
18                  MR. SEARS: That's correct, Your Honor. And as the
19     Court may recall, we actually went through the same process
20     last fall. The defendant initially did not respond to the
21     complaint.
22                  THE COURT: Correct.
23                  MR. SEARS: Showed up at a status conference, said
24     he'd retain a lawyer. Missed the deadline to do that. The
25     Court entered a default. And then once we filed our, our
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1      motion for a default judgment, which as the Court knows, is the
2      second step of that process --
3                   THE COURT: Correct.
4                   MR. SEARS: -- he finally got a lawyer I believe the
5      day after Thanksgiving on the eve of the hearing on that
6      motion, and nominally participated in the case for a few months
7      before his lawyer left. So this -- I think the defendant is --
8      I can't speak for him, but he seems to be aware of the
9      consequences of not participating in the lawsuit.
10                  THE COURT: Well, as long as the record shows we've
11     attempted to make him aware, that's what's important to the
12     Court. And so there was the withdrawal of counsel. And since
13     that time he had a definite amount of time to be able to get
14     someone else in, and no one is present that we know of. No
15     one's floating around the building. And so if that's the case
16     and not hearing from him, the Court is going to grant your
17     motion for default. All right.
18                  MR. SEARS: Thank you, Your Honor. And as we did
19     before, we will follow up with a, a formal motion for default
20     judgment. While we have the Court, could I just make one other
21     request --
22                  THE COURT: Yes.
23                  MR. SEARS: -- or note for the record.
24                  THE COURT: Yes.
25                  MR. SEARS: Your Honor, we have a real concern that
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1      what happened before is going to happen again. That we're
2      going to spend the time and money putting together a motion for
3      default judgment. We take these very seriously. We try to do
4      them efficiently, but they do, they do take up time and money.
5      And we spent a lot of time and money both litigating this case
6      on behalf of our clients and responding to the defendant's own
7      discovery requests. We're concerned that we're going to go
8      through that process again and we're again going to be in a
9      position where the defendant reappears and says he wants to
10     participate in the case.
11                  If that happens, I, I just want the Court to be aware
12     that we'll want to make a request that there be some kind of
13     consequence. Perhaps defendant posting a bond pending judgment
14     to incentivize him to participate in the case going forward.
15     We're happy to make that in a formal motion when the times
16     comes, but I wanted to put that on the Court's radar. We have
17     a real concern about the defendant's participation in the case
18     and his ability and willingness to pay any judgment sorted
19     against him.
20                  THE COURT: And the Court appreciates your statement,
21     Counsel, but also this will be the second time. COVID is now
22     on the wane. I mean, before it wasn't. And so the Court sees
23     no reason why I would allow him to disrupt the order that was
24     entered very appropriately, and indeed for a second time. So I
25     don't even know if we're going to get to the point where I
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1      would be letting somebody back in at a later date. All right.
2                   MR. SEARS: Thank you, Your Honor.
3                   THE COURT: All right.
4                   MR. SEARS: I appreciate it.
5                   THE COURT: All right. So if that happens, though,
6      the Court will take it under consideration, but it would take
7      something extraordinary for me to change at this point. All
8      right.
9                   MR. SEARS: Thank you, Your Honor.
10                  THE COURT: All right. Thank you. Thank you all.
11     Have a good holiday.
12                  MR. LAKIN: Thank you, Your Honor.
13                  THE COURT: All right. Take care.
14                  MR. SEARS: Thank you.
15                               CERTIFICATE
16                  I HEREBY CERTIFY that the foregoing is a true,
17     correct and complete transcript of the proceedings had at the
18     hearing of the aforementioned cause on the day and date hereof.
19
20     /s/TRACEY D. McCULLOUGH                                         July 1, 2021
21     Official Court Reporter                                                Date
       United States District Court
22     Northern District of Illinois
       Eastern Division
23
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